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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF OKLAHOMA

DWAIN EDWARD THOMAS,                      )
                                          )
        Plaintiff,                        )
                                          )
v.                                        )        Case No. CIV-20-944-D
                                          )
KEVIN STITT, et al.,                      )
                                          )
        Defendants.                       )

                                          ORDER

       Before the Court is the parties’ Joint Motion to Extend Certain Interim Deadlines

and Amend Scheduling Order [Doc. No. 71]. Upon consideration, the motion is

GRANTED. IT IS THEREFORE ORDERED that the following deadlines are amended:


                                  Event                                 Revised Deadline
Plaintiff to file a final list of witnesses, together with addresses
and brief summary of expected testimony where a witness has not          May 14, 2024
already been deposed.

Defendants to file final list of witnesses, together with addresses
and brief summary of expected testimony where a witness has not          May 28, 2024
already been deposed.

Plaintiff to file final exhibit list.                                    May 14, 2024

Defendants to file objections to Plaintiff’s final exhibit list under
                                                                         May 28, 2024
Fed. R. Civ. P. 26(a)(3)(B).

Defendants to file final exhibit list.                                   May 28, 2024

Plaintiff to file objections to Defendants’ final exhibit list under
                                                                         June 11, 2024
Fed. R. Civ. P. 26(a)(3)(B).

All dispositive and Daubert motions to be filed.                          June 4, 2024
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       All other provisions of the parties’ Scheduling Order [Doc. No. 70], to include any

deadlines not revised by this Order, remain in effect.

       IT IS SO ORDERED this 13th day of March, 2024.




                                                           . DeGIUSTI
                                              Chief United States District Judge
